      Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 1 of 16




     POMERANTZ LLP
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     Beverly Hills, CA 90210
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 4
 5   (additional counsel on signature page)

 6                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 7
 8   KALMAN ISAACS, Individually and on                Case No.: 3:18-cv-04865-EMC
 9   behalf of all others similarly situated,
                                                       NOTICE OF MOTION OF THE
10              Plaintiff,                             TESLA INVESTOR GROUP FOR
11                                                     CONSOLIDATION OF RELATED
                v.                                     ACTIONS, APPOINTMENT AS
12                                                     LEAD PLAINTIFF AND APPROVAL
     TESLA, INC. and ELON R. MUSK,                     OF COUNSEL; MEMORANDUM OF
13                                                     POINTS AND AUTHORITIES IN
              Defendants.                              SUPPORT
14
15                                                     CLASS ACTION

16                                                     JUDGE: Hon. Edward M. Chen
                                                       Hearing Date: November 15, 2018
17
                                                       Time: 1:30 p.m.
18                                                     Ctrm: #5, 17th Floor (San Francisco)

19   WILLIAM CHAMBERLAIN, Individually                 Case No.: 3:18-cv-04876-EMC
     and on behalf of all others similarly situated,
20
21              Plaintiff,

22              v.
23
     TESLA, INC. and ELON R. MUSK,
24
              Defendants.
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                        NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
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31
      Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 2 of 16




     JOHN YEAGER, Individually and on behalf of Case No.: 3:18-cv-04912-EMC
 1   all others similarly situated,
 2
              Plaintiff,
 3
               v.
 4
 5   TESLA, INC. and ELON R. MUSK,

 6             Defendants.
     CARLOS MAIA, Individually and on behalf of Case No.: 3:18-cv-04939-EMC
 7   all others similarly situated,
 8
              Plaintiff,
 9
               v.
10
11   TESLA, INC. and ELON R. MUSK,

12             Defendants.
     KEWAL DUA, Individually and on behalf of     Case No.: 3:18-cv-04948-EMC
13   all others similarly situated,
14
              Plaintiff,
15
               v.
16
17   TESLA, INC. and ELON R. MUSK,

18             Defendants.
     JOSHUA HORWITZ, Individually and on          Case No.: 3:18-cv-05258-EMC
19   behalf of all others similarly situated,
20
              Plaintiff,
21
               v.
22
23   TESLA, INC. and ELON R. MUSK,

24           Defendants.

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                      NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
31
      Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 3 of 16




     ANDREW E. LEFT, Individually and on           Case No.: 3:18-cv-05463-EMC
 1   behalf of all others similarly situated,
 2
               Plaintiff,
 3
               v.
 4
 5   TESLA, INC. and ELON R. MUSK,

 6             Defendants.
     ZHI XING FAN, Individually and on behalf of    Case No. 3:18-cv-05470
 7   all others similarly situated,
 8
               Plaintiff,
 9
               v.
10
11   TESLA, INC. and ELON R. MUSK,

12            Defendants.
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29
                       NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
31
      Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 4 of 16




 1                                                            TABLE OF CONTENTS
 2
               I.         CLAIMS ASSERTED ........................................................................................... 2
 3
 4   ARGUMENT ................................................................................................................................. 3

 5             I.         THE RELATED ACTIONS SHOULD BE CONSOLIDATED ........................... 3
 6
               II.        THE TESLA INVESTOR GROUP SHOULD BE APPOINTED LEAD
 7                        PLAINTIFF............................................................................................................ 3

 8                        A.         The Tesla Investor Group Is Willing to Serve as a Class Representative . 4
 9                        B.         The Tesla Investor Group Has the Largest Financial Interest in the Action
10                                   .................................................................................................................... 4

11                        C.         The Tesla Investor Group Satisfies the Requirements of Rule 23 of the
                                     Federal Rules of Civil Procedure ............................................................... 5
12
13                        D.         The Tesla Investor Group Will Fairly and Adequately Represent the
                                     Interests of the Class and Is Not Subject to Unique Defenses ................... 7
14
               III.       THE TESLA INVESTOR GROUP’S SELECTION OF COUNSEL SHOULD
15                        BE APPROVED .................................................................................................... 7
16
               IV.        CONCLUSION ...................................................................................................... 8
17
18
19
20
21
22
23
24
25
26
27
28
29                                                       i
                               NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
31
      Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 5 of 16




                                                  TABLE OF AUTHORITIES
 1
 2                                                                                                                               Page(s)

 3   Cases

 4   Baby Neal v. Casey,
        43 F.3d 48 (3d Cir. 1994)......................................................................................................... 6
 5
     Beck v. Maximus, Inc.,
 6
        457 F.3d 291 (3d Cir. 2006)..................................................................................................... 6
 7
     Hanon v. Dataproducts Corp.,
 8      976 F.2d 497 (9th Cir.1992) .................................................................................................... 6
 9   In re Cavanaugh,
         306 F.3d 726 (9th Cir. 2002) ................................................................................................... 4
10
11   In re Comverse Tech., Inc., Sec. Litig.,
         2007 U.S. Dist. LEXIS 14878 (E.D.N.Y. Mar. 2, 2007) ......................................................... 5
12
     In re Olsten Corp. Sec. Litig.,
13       3 F. Supp.2d 286 (E.D.N.Y. 1998) .......................................................................................... 5
14   In re Oxford Health Plans, Inc. Sec. Litig.,
15       182 F.R.D. 42 (S.D.N.Y. 1998) ............................................................................................... 6

16   Knox v. Yingli Green Energy Holding Co.,
        135 F. Supp. 1159 (C.D. Cal. 2015) ........................................................................................ 5
17
     Lax v. First Merch. Acceptance Corp.,
18      1997 U.S. Dist. LEXIS 11866 (N.D. Ill. Aug. 6, 1997)........................................................... 4
19
     Mandalevy v. BofI Holding, Inc., No. 3:17-cv-0667-GPC-KSC,
20     2017 U.S. Dist. LEXIS 184504 (S.D. Cal. Nov. 7, 2017) ....................................................... 5

21   Osher v. Guess?, Inc.,
        2001 U.S. Dist. LEXIS 6057 (C.D. Cal. Apr. 26, 2001) ......................................................... 7
22
23   Richardson v. TVIA, Inc., No. C 06 06304 RMW,
        2007 U.S. Dist. LEXIS 28406 (N.D. Cal. Apr. 16, 2007) ................................................... 3, 5
24
     Smajlaj v. Brocade Communs. Sys., No. C 05-02042 CRB,
25      2006 U.S. Dist. LEXIS 97618 (N.D. Cal. Jan. 12, 2006) ........................................................ 6
26   Staton v. Boeing Co.,
27       327 F.3d 938 (9th Cir. 2003) ................................................................................................... 7

28
29                                                      ii
                              NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
31
      Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 6 of 16




                                                                Statutes
 1
     15 U.S.C. § 78u-4(a)(3)(B)(i) and (ii)................................................................................... passim
 2
 3   Private Securities Litigation Reform Act of 1995 ................................................................ passim

 4                                                               Rules
 5   Federal Rule of Civil Procedure 23 ................................................................................... 1, 4, 5, 6
 6   Federal Rule of Civil Procedure 42(a) ....................................................................................... 1, 3
 7
 8
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24
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26
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                             NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
31
         Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 7 of 16




 1              PLEASE TAKE NOTICE that on November 15, 2018 at 1:30 p.m. before the
 2   Honorable Edward M. Chen in Courtroom 5, 17th Floor, 450 Golden Gate Avenue, San
 3   Francisco, California 94102, the Tesla Investor Group1 will and does move this Court for an
 4   order granting its Motion for: (i) consolidation of the above-captioned related actions (the
 5   “Related Actions”), (ii) appointment of the Tesla Investor Group as Lead Plaintiff for the Class;
 6   and (iii) approval of the Tesla Investor Group’s selection of Pomerantz LLP (“Pomerantz”) as
 7   Lead Counsel.
 8              This Motion is brought pursuant to Section 21D(a)(3)(B) of the Securities Exchange Act
 9
     of 1934 (“Exchange Act”), 15 U.S.C. § 78u-4(a)(3)(B) and Federal Rule of Civil Procedure
10
     42(a), on the grounds that: (i) the Related Actions should be consolidated as they involve
11
     common questions of law and fact and consolidation would promote judicial economy; (ii) the
12
     Tesla Investor Group should be appointed as Lead Plaintiff for a class consisting of all persons
13
     or entities other than defendants that purchased or otherwise acquired the securities of Tesla
14
     Corporation (“Tesla” or the “Company”) between April 29, 2015 and June 8, 2018, both dates
15
     inclusive (the “Class Period”), as the Tesla Investor Group has timely made this Motion, has the
16
     largest financial interest in this litigation and otherwise satisfies the pertinent requirements of
17
     Federal Rule of Civil Procedure 23; and (iii) the Tesla Investor Group’s selection of Pomerantz
18
     as Lead Counsel should be approved as the firm is well qualified and has extensive experience
19
     in cases of this type.
20
                In support of this Motion, the Tesla Investor Group files herewith a memorandum of
21
     points and authorities, the Declaration of Jennifer Pafiti, the certification of Jennifer Pafiti
22
23   pursuant to LR 3-7(d), a certification pursuant to LR 3-16, and a proposed order.

24
25
26
27
28   1
         The Tesla Investor Group consists of Donald Freeland, Alvin Abrams, Christopher Lyman, and Rajinder Gaur.

29                                                    1
                            NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
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      Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 8 of 16




                         MEMORANDUM OF POINTS AND AUTHORITIES
 1
            The Tesla Investor Group respectfully submits this memorandum in support of its
 2
     motion for an Order, pursuant to Section 21D of the Securities Exchange Act, as amended by
 3
     the Private Securities Litigation Reform Act of 1995 (the “PSLRA”):
 4
        (1) consolidating the Related Actions;
 5
        (2) appointing the Tesla Investor Group as Lead Plaintiff for all persons other than
 6
 7   defendants who purchased or otherwise acquired Tesla securities during the Class Period,

 8   seeking to recover damages caused by Defendants’ violations of the federal securities laws (the

 9   “Class”); and

10      (3) appointing Pomerantz as Lead Counsel for the Class.

11     I.   CLAIMS ASSERTED
12          The first of the Related Actions to be filed was commenced on August 10, 2018 against
13   Defendants, alleging claims under Sections 10(b) and 20(a) of the Exchange Act, and Rule
14   10b-5 promulgated thereunder. That same day, counsel for plaintiff in that action issued a
15   PSLRA early notice advising potential Class members of, among other things, the pendency of
16   the action, the claims alleged in the action and the 60 day deadline to seek appointment as lead
17   plaintiff. A copy of the early notice is attached as Exhibit A to the Declaration of Jennifer Pafiti
18
     filed herewith (“Pafiti Decl.”). Numerous related actions (captioned above) were subsequently
19
     filed against Defendants, asserting the same facts and claims as the initial action.
20
            The Complaints allege that during the Class Period, Defendants made false and/or
21
     misleading statements and/or failed to disclose that: (i) Defendants had not secured funding for
22
     a transaction to take Tesla private; (ii) Tesla’s Board of Directors was unaware of any plan to
23
     take Tesla private; (iii) Musk had not retained advisors in connection with his purported plan to
24
     take Tesla private; (iv) the status and likelihood of Tesla going private was therefore
25
     misrepresented to the market; and (v) as a result, Tesla’s public statements were materially false
26
     and misleading at all relevant times. When the true details entered the market, the Related
27
     Actions allege that investors suffered damages.
28
29                                               2
                       NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
31
      Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 9 of 16




 1                                             ARGUMENT
 2
       I.    THE RELATED ACTIONS SHOULD BE CONSOLIDATED
 3           Consolidation of related cases is proper where, as here, the actions involve common
 4   questions of law and fact such that consolidation would prevent unnecessary cost or delay in
 5
     adjudication. When actions involving a common question of law or fact are pending before the
 6
     court, it may order a joint hearing or trial of any or all of the matters at issue in the actions; it
 7
     may order all the actions consolidated; and it may make such orders concerning proceedings
 8
     therein as may tend to avoid unnecessary costs or delay. Fed. R. Civ. P. 42(a); see also
 9
     Richardson v. TVIA, Inc., No. C 06 06304 RMW, 2007 U.S. Dist. LEXIS 28406, at *2 (N.D.
10
     Cal. Apr. 16, 2007).
11
             The PSLRA contemplates consolidation where “more than one action on behalf of a
12
     class asserting substantially the same claim or claims arising under this chapter has been filed.”
13
     15 U.S.C. 78u-4(a)(3)(A)(ii). As such, the PSLRA does not displace the traditional legal
14
     standards for consolidation under Fed. R. Civ. P. 42(a).
15
             Each of the Related Actions has been filed in this District alleging similar factual and
16
     legal grounds to support allegations of violations of Sections 10(b) and 20(a) of the Exchange
17
     Act by the Defendants arising from the public dissemination of false and misleading
18
19   information to investors. Accordingly, the Related Actions should be consolidated pursuant to

20   Fed. R. Civ. P. 42(a) for all purposes.

21    II.    THE TESLA INVESTOR GROUP SHOULD BE APPOINTED LEAD
             PLAINTIFF
22
             The PSLRA sets forth procedures for the selection of Lead Plaintiff in class actions
23
     brought under the Exchange Act. 15 U.S.C. § 78u-4(a)(3)(B). The PSLRA directs courts to
24
     consider any motion to serve as Lead Plaintiff filed by class members in response to a published
25
26   notice of class action by the later of (i) 90 days after the date of publication, or (ii) as soon as

27   practicable after the Court decides any pending motion to consolidate. 15 U.S.C. § 78u-

28   4(a)(3)(B)(i) and (ii).

29                                                3
                        NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
31
     Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 10 of 16




 1          The PSLRA provides a “rebuttable presumption” that the most “adequate plaintiff” to
 2   serve as Lead Plaintiff is the “person or group of persons” that:
 3
                    (aa) has either filed the complaint or made a motion in response to
 4                  a notice . . .;
                    (bb) in the determination of the Court, has the largest financial
 5                  interest in the relief sought by the class; and
                    (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of
 6
                    Civil Procedure.
 7   15 U.S.C. § 78u-4(a)(3)(B)(iii)(I) (emphasis added); In re Cavanaugh, 306 F.3d 726, 729-30
 8
     (9th Cir. 2002).
 9
            As set forth below, the Tesla Investor Group satisfies the above criteria, believes it has
10
     the largest financial interest of any movant in this litigation, and is therefore the most adequate
11
     plaintiff and should be appointed as Lead Plaintiff.
12
            A.      The Tesla Investor Group Is Willing to Serve as a Class Representative
13
            The Tesla Investor Group has timely filed the instant motion in response to a PSLRA
14
     early notice, and its members have filed herewith PSLRA certifications attesting that that they
15
     are willing to serve as representatives of the Class and to provide testimony at deposition and
16
     trial, if necessary. See Pafiti Decl., Ex. B. Accordingly, the Tesla Investor Group satisfies the
17
18   first requirement to serve as Lead Plaintiff for the Class.

19          B.      The Tesla Investor Group Has the Largest Financial Interest in the Action
20          As of the time of the filing of this motion, the Tesla Investor Group believes that it has
21   the largest financial interest of any Lead Plaintiff movant based on the four factors articulated in
22   the seminal case Lax v. First Merch. Acceptance Corp., 1997 U.S. Dist. LEXIS 11866, at *7-*8
23   (N.D. Ill. Aug. 6, 1997) (financial interest may be determined by (1) the number of shares
24   purchased during the class period; (2) the number of net shares purchased during the class
25   period; (3) the total net funds expended during the class period; and (4) the approximate losses
26
27
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29                                                4
                        NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
31
     Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 11 of 16




 1   suffered).2 The most critical among the Lax Factors is the approximate loss suffered. See, e.g.,
 2   See, e.g., Richardsonm 2007 U.S. Dist. LEXIS 28406, at *3; Knox v. Yingli Green Energy
 3   Holding Co., 135 F. Supp. 1159, 1163 (C.D. Cal. 2015).
 4           During the Class Period, the Tesla Investor Group (1) purchased 28,238 shares of Tesla
 5   stock and 3,060 option contracts; (2) expended $12,263,081 on its purchases of Tesla securities;
 6   (3) retained 9,730 shares of Tesla stock and 388 option contracts; and (4) as a result of the
 7   disclosures of the fraud, suffered a loss of $790,845 in connection with its purchases of Tesla
 8   securities. See Pafiti Decl., Ex. C. Because the Tesla Investor Group possesses the largest
 9
     financial interest in the outcome of this litigation, it may be presumed to be the “most adequate”
10
     plaintiff. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(bb).
11
             C.       The Tesla Investor Group Satisfies the Requirements of Rule 23 of the
12                    Federal Rules of Civil Procedure
13           Section 21D(a)(3)(B)(iii)(I)(cc) of the PSLRA further provides that, in addition to
14   possessing the largest financial interest in the outcome of the litigation, Lead Plaintiff must
15   “otherwise satisfy the requirements of Rule 23 of the Federal Rules of Civil Procedure.” Rule
16   23(a) generally provides that a class action may proceed if the following four requirements are
17   satisfied:
18
             (1)     the class is so numerous that joinder of all members is impracticable, (2)
19           there are questions of law or fact common to the class, (3) the claims or defenses
             of the representative parties are typical of the claims or defenses of the class, and
20
             (4) the representative parties will fairly and adequately protect the interests of the
21           class.

22           In making its determination that Lead Plaintiff satisfies the requirements of Rule 23, the

23   Court need not raise its inquiry to the level required in ruling on a motion for class certification;

24   instead a prima facie showing that the Tesla Investor Group satisfies the requirements of Rule

25   23 is sufficient. Mandalevy v. BofI Holding, Inc., No. 3:17-cv-0667-GPC-KSC, 2017 U.S. Dist.

26   LEXIS 184504, at *3 (S.D. Cal. Nov. 7, 2017). Moreover, “[t]he only Rule 23 factors that are
27   2
       See also In re Olsten Corp. Sec. Litig., 3 F. Supp.2d 286, 296 (E.D.N.Y. 1998). Accord In re Comverse Tech.,
     Inc., Sec. Litig., 2007 U.S. Dist. LEXIS 14878, at *22-*25 (E.D.N.Y. Mar. 2, 2007) (collectively, the “Lax-Olsten”
28   factors).

29                                                  5
                          NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
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     Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 12 of 16




 1   relevant are typicality and adequacy of representation.” Smajlaj v. Brocade Communs. Sys., No.
 2   C 05-02042 CRB, 2006 U.S. Dist. LEXIS 97618, at *9 (N.D. Cal. Jan. 12, 2006) (citing In re
 3   Oxford Health Plans, Inc. Sec. Litig., 182 F.R.D. 42, 49 (S.D.N.Y. 1998)).
 4          “The test of typicality ‘is whether other members have the same or similar injury,
 5   whether the action is based on conduct which is not unique to the named plaintiffs, and whether
 6   other class members have been injured by the same course of conduct.’” Hanon v.
 7   Dataproducts Corp., 976 F.2d 497, 508 (9th Cir.1992) (citation omitted). In other words, “the
 8   named plaintiffs’ claims [must be] typical, in common-sense terms, of the class, thus suggesting
 9
     that the incentives of the plaintiffs are aligned with those of the class.” Beck v. Maximus, Inc.,
10
     457 F.3d 291, 295-96 (3d Cir. 2006) (quoting Baby Neal v. Casey, 43 F.3d 48, 55 (3d Cir. 1994)
11
     (noting that “factual differences will not render a claim atypical if the claim arises from the
12
     same event or practice or course of conduct that gives rise to the claims of the class members,
13
     and if it is based on the same legal theory.”)).
14
            The claims of the Tesla Investor Group are typical of those of the Class. The Tesla
15
     Investor Group alleges, as do all class members, that defendants violated the Exchange Act by
16
     making what they knew or should have known were false or misleading statements of material
17
     facts concerning Tesla, or omitted to state material facts necessary to make the statements they
18
     did make not misleading. The Tesla Investor Group, as did all members of the Class, purchased
19
     Tesla securities during the Class Period at prices artificially inflated by defendants’
20
     misrepresentations or omissions and was damaged upon the disclosure of those
21
     misrepresentations and/or omissions. These shared claims, which are based on the same legal
22
23   theory and arise from the same events and course of conduct as the Class claims, satisfy the

24   typicality requirement of Rule 23(a)(3).

25          In determining whether the adequacy requirement of Rule 23(a)(4) is met, courts in the

26   Ninth Circuit consider whether “the representative plaintiffs and their counsel have any

27   conflicts of interest with other class members,” and “will the representative plaintiffs and their

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29                                                6
                        NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
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     Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 13 of 16




 1   counsel prosecute the action vigorously on behalf of the class.” Staton v. Boeing Co., 327 F.3d
 2   938, 957 (9th Cir. 2003) (citations omitted).
 3           The Tesla Investor Group is an adequate representative for the Class. There is no
 4   antagonism between the interests of the Tesla Investor Group and those of the Class, and its
 5   losses demonstrate that it has a sufficient interest in the outcome of this litigation. Moreover,
 6   the Tesla Investor Group has retained counsel highly experienced in vigorously and efficiently
 7   prosecuting securities class actions such as this action, and submits its choice to the Court for
 8   approval pursuant to 15 U.S.C. § 78u 4(a)(3)(B)(v).
 9
             D.      The Tesla Investor Group Will Fairly and Adequately Represent the
10                   Interests of the Class and Is Not Subject to Unique Defenses
11           The presumption in favor of appointing the Tesla Investor Group as Lead Plaintiff may
12   be rebutted only upon proof “by a purported member of the plaintiffs’ class” that the
13   presumptively most adequate plaintiff:
14           (aa)    will not fairly and adequately protect the interest of the class; or
15           (bb)     is subject to unique defenses that render such plaintiff incapable of
                     adequately representing the class.
16
     15 U.S.C. § 78u-4(a)(3)(B)(iii)(II).
17
             The Tesla Investor Group’s ability and desire to fairly and adequately represent the
18
     Class has been discussed above. The Tesla Investor Group is not aware of any unique defenses
19   that Defendants could raise against it that would render the Tesla Investor Group inadequate to
20   represent the Class. Accordingly, the Court should appoint the Tesla Investor Group as Lead
21   Plaintiff for the Class.
22
     III.    THE TESLA INVESTOR GROUP’S SELECTION OF COUNSEL SHOULD BE
23           APPROVED
24           The PSLRA vests authority in the Lead Plaintiff to select and retain lead counsel,
25   subject to the approval of the Court. See 15 U.S.C. § 78u-4(a)(3)(B)(v); Osher v. Guess?, Inc.,
26   2001 U.S. Dist. LEXIS 6057, at *15 (C.D. Cal. Apr. 26, 2001). The Court should interfere with

27   Lead Plaintiff’s selection only when necessary “to protect the interests of the class.” 15 U.S.C. §

28   78u-4(a)(3)(B)(iii)(II)(aa).

29                                                7
                        NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
31
     Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 14 of 16




 1          Here, the Tesla Investor Group has selected Pomerantz as Lead Counsel for the Class.

 2   Pomerantz is highly experienced in the area of securities litigation and class actions, and has

 3   successfully prosecuted numerous securities litigations and securities fraud class actions on

 4   behalf of investors, as detailed in the firm’s resume. Pomerantz recently secured a recovery of

 5   $3 billion on behalf of investors in the securities of Petróleo Brasileiro S.A. — Petrobras, the

 6   largest settlement ever in a class action involving a foreign issuer and the fifth largest class

 7   action settlement ever achieved in the United States. See Pafiti Decl., Ex. D. As a result of the

 8   firm’s extensive experience in litigation involving issues similar to those raised in the above-

 9   captioned action, the Tesla Investor Group’s counsel have the skill and knowledge which will

10   enable them to prosecute a consolidated action effectively and expeditiously. Thus, the Court

11   may be assured that by approving the selection of Lead Counsel by the Tesla Investor Group,

12   the members of the class will receive the best legal representation available.

13   IV.    CONCLUSION
14          For the foregoing reasons, the Tesla Investor Group respectfully requests that the Court

15   issue an Order: (1) consolidating the Related Actions; and (2) appointing the Tesla Investor

16   Group as Lead Plaintiff of the Class; (3) approving Pomerantz as Lead Counsel.

17
     Dated: October 9, 2018                Respectfully submitted,
18
19                                         POMERANTZ LLP
20                                         /s/ Jennifer Pafiti
                                           Jennifer Pafiti (SBN 282790)
21
                                           468 North Camden Drive
22                                         Beverly Hills, CA 90210
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24
                                           POMERANTZ LLP
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29                                               8
                       NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
30
31
     Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 15 of 16




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 1                                 ahood@pomlaw.com
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                  NOTICE OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES
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     Case 3:18-cv-04865-EMC Document 74 Filed 10/09/18 Page 16 of 16




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 2          I hereby certify that on October 9, 2018, a copy of the foregoing was filed electronically

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                                                          /s/ Jennifer Pafiti
 8                                                        Jennifer Pafiti
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